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                         EXHIBIT 4
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter       11                                                   ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Galleria 2425 Owner, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   3      6 – 4    8   9    6    7     3   8
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   1001 West Loop South
                                                   Number          Street                                      Number        Street

                                                   Houston, TX 77027
                                                   City                                    State   ZIP Code    City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Harris                                                      place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑ Partnership (excluding LLP)
                                                  ✔ Other. Specify:
                                                  ❑                             Limited Liability Company




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Debtor      Galleria 2425 Owner, LLC                                                                         Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ❑ No
       by or against the debtor within the      ✔ Yes. District Southern District of Texas
                                                ❑                                                   When 7/5/2023         Case number 23-60036
       last 8 years?                                                                                     MM / DD / YYYY

     If more than 2 cases, attach a                      District                                   When                    Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                             Relationship

     List all cases. If more than 1, attach a            District                                                           When
     separate list.                                                                                                                       MM / DD / YYYY
                                                         Case number, if known




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Debtor        Galleria 2425 Owner, LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?                                   ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                   ❑ It needs to be physically secured or protected from the weather.
                                                   ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                         options).
                                                   ❑ Other
                                                   Where is the property?
                                                                             Number        Street




                                                                             City                                         State    ZIP Code
                                                   Is the property insured?
                                                   ❑ No
                                                   ❑ Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ❑ Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         ❑
                                            creditors.

         14. Estimated number of
                                          ✔ 1-49 ❑ 50-99
                                          ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets             ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                          ❑ $50,001-$100,000                    ✔ $10,000,001-$50 million
                                                                                ❑                                         ❑ $1,000,000,001-$10 billion
                                          ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                          ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




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Debtor        Galleria 2425 Owner, LLC                                                                         Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ✔ $50,000,001-$100 million
                                                                                      ❑                                         ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     12/05/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Dward Darjean                                                  Printed name
                                                                                                                                       Dward Darjean
                                                   Signature of authorized representative of debtor


                                                   Title                        Manager



         18. Signature of attorney
                                               ✘                       /s/ James Q. Pope                            Date      12/05/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    James Q. Pope
                                                   Printed name

                                                    The Pope Law Firm
                                                   Firm name

                                                    6161 Savoy Drive 1125
                                                   Number          Street


                                                    Houston                                                            TX              77036
                                                   City                                                               State            ZIP Code



                                                    (713) 449-4481                                                      jamesp@thepopelawfirm.com
                                                   Contact phone                                                       Email address



                                                    24048738                                                            TX
                                                   Bar number                                                          State




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 Fill in this information to identify the case:

 Debtor name                           Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                           12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete            Name, telephone number,         Nature of the          Indicate if       Amount of unsecured claim
    mailing address, including zip code      and email address of            claim (for             claim is          If the claim is fully unsecured, fill in only unsecured
                                             creditor contact                example, trade         contingent,       claim amount. If claim is partially secured, fill in total
                                                                             debts, bank loans,     unliquidated,     claim amount and deduction for value of collateral
                                                                             professional           or disputed       or setoff to calculate unsecured claim.
                                                                             services, and                            Total claim, if     Deduction for        Unsecured
                                                                             government                               partially           value of             claim
                                                                             contracts)                               secured             collateral or
                                                                                                                                          setoff
1     2425 WL, LLC                                                                                                    $25,092,415.80       $17,500,000.00      $7,592,415.80
      13498 Pond Springs Rd.
      Austin, TX 78729


2     Ali Choudhry                                                                                                                                                $960,000.00
      1001 West Loop South 700
      Houston, TX 77027


3     Ash Automated Control Systems,                                         HVAC Repair                                                                            $1,548.31
      LLC
      PO Box 1113
      Fulshear, TX 77441

4     Caz Creek Lending                                                      Tax Lien                                    $800,238.37       $17,500,000.00         $800,238.37
      118 Vintage Park Blvd No. W
      Houston, TX 77070


5     Cirro Electric                                                                                                                                               $27,000.00
      PO Box 60004
      Dallas, TX 75266


6     City of Houston                                                                                                                                               $7,500.00
      PO Box 1560
      Houston, TX 77251


7     CNA Insurance Co                                                                                                                                             $63,216.48
      PO Box 74007619
      Chicago, IL 60674


8     Datawatch Systems                                                                                                                                            $18,626.10
      4520 East West Highway 200
      Bethesda, MD 20814




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Debtor          Galleria 2425 Owner, LLC                                                                         Case number (if known)
             Name

    Name of creditor and complete       Name, telephone number,           Nature of the          Indicate if       Amount of unsecured claim
    mailing address, including zip code and email address of              claim (for             claim is          If the claim is fully unsecured, fill in only unsecured
                                        creditor contact                  example, trade         contingent,       claim amount. If claim is partially secured, fill in total
                                                                          debts, bank loans,     unliquidated,     claim amount and deduction for value of collateral or
                                                                          professional           or disputed       setoff to calculate unsecured claim.
                                                                          services, and                            Total claim, if     Deduction for       Unsecured
                                                                          government                               partially           value of            claim
                                                                          contracts)                               secured             collateral or
                                                                                                                                       setoff
9    Firetron                                                                                                                                                   $30,040.34
     PO Box 1604
     Stafford, TX 77497


10 First Insurance Funding                                                                                                                                        $5,507.36
   450 Skokie Blvd
   Northbrook, IL 60062


11 Gulfstream Legal Group                                                                                                                                       $57,799.06
   1300 Texas St
   Houston, TX 77002


12 Harris County Tax Assessor                                                                                         $957,825.16      $17,500,000.00          $957,825.16
   PO Box 4622
   Houston, TX 77210


13 HNB Construction, LLC                                                                                                                                        $58,207.11
   521 Woodhaven
   Ingleside, TX 78362


14 Lexitas                                                                                                                                                        $2,813.33
   PO Box Box 734298 Dept 2012
   Dallas, TX 75373


15 MacGeorge Law Firm                                                                                                                                           $34,445.48
   2921 E 17th St Blgd D Suite 6
   Austin, TX 78702


16 National Bank of Kuwait                                                                       Disputed          $26,000,000.00      $17,500,000.00      $26,000,000.00
   299 Park Ave. 17th Floor
   New York, NY 10171


17 Nationwide Security                                                                                                                                          $32,549.70
   2425 W Loop S 300
   Houston, TX 77027


18 Nichamoff Law Firm                                                                                                                                           $46,984.22
   2444 Times Blvd 270
   Houston, TX 77005


19 TKE                                                                                                                                                          $57,881.13
   3100 Interstate North Cir SE 500
   Atlanta, GA 30339


20 Zindler Cleaning Service Co                                                                                                                                    $2,110.88
   2450 Fondren 113
   Houston, TX 77063



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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: Galleria 2425 Owner, LLC                                                       CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      12/05/2023            Signature                                 /s/ Dward Darjean
                                                                         Dward Darjean, Manager
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2425 WL, LLC                           ADT                                ALI CHOUDHRY
13498 POND SPRINGS RD.                 PO BOX 382109                      1001 WEST LOOP SOUTH 700
AUSTIN, TX 78729                       PITTSBURGH, PA 15251               HOUSTON, TX 77027




ASH AUTOMATED CONTROL                  CAZ CREEK LENDING                  CFI MECHANICAL, INC
SYSTEMS, LLC                           118 VINTAGE PARK BLVD NO. W        6109 BRITTMOORE RD
PO BOX 1113                            HOUSTON, TX 77070                  HOUSTON, TX 77041
FULSHEAR, TX 77441



CIRRO ELECTRIC                         CITY OF HOUSTON                    CNA INSURANCE CO
PO BOX 60004                           PO BOX 1560                        PO BOX 74007619
DALLAS, TX 75266                       HOUSTON, TX 77251                  CHICAGO, IL 60674




COMCAST                                DATAWATCH SYSTEMS                  ENVIRONMENTAL COALITION
PO BOX 60533                           4520 EAST WEST HIGHWAY 200         INC
CITY OF INDUSTRY, CA 91716             BETHESDA, MD 20814                 PO BOX 1568
                                                                          STAFFORD, TX 77497



FERGUSON FACILITIES                    FIRETRON                           FIRST INSURANCE FUNDING
SUPPLIES                               PO BOX 1604                        450 SKOKIE BLVD
PO BOX 200184                          STAFFORD, TX 77497                 NORTHBROOK, IL 60062
SAN ANTONIO, TX 78220



GULFSTREAM LEGAL GROUP                 HARRIS COUNTY TAX                  HNB CONSTRUCTION, LLC
1300 TEXAS ST                          ASSESSOR                           521 WOODHAVEN
HOUSTON, TX 77002                      PO BOX 4622                        INGLESIDE, TX 78362
                                       HOUSTON, TX 77210



KINGS 111 EMERGENCY                    LEXITAS                            LOGIX FIBER NETWORKS
COMMUNICATIONS                         PO BOX BOX 734298 DEPT 2012        PO BOX 734120
751 CANYON DRIVE, SUITE 100            DALLAS, TX 75373                   DALLAS, TX 75373
COPPELL, TX 75019



MACGEORGE LAW FIRM                     MUELLER WATER TREATMENT            NATIONAL BANK OF KUWAIT
2921 E 17TH ST BLGD D SUITE 6          1500 SHERWOOD FOREST DR.           299 PARK AVE. 17TH FLOOR
AUSTIN, TX 78702                       HOUSTON, TX 77043                  NEW YORK, NY 10171




NATIONWIDE SECURITY                    NICHAMOFF LAW FIRM                 TKE
2425 W LOOP S 300                      2444 TIMES BLVD 270                3100 INTERSTATE NORTH CIR SE 500
HOUSTON, TX 77027                      HOUSTON, TX 77005                  ATLANTA, GA 30339




WASTE MANAGEMENT                       ZINDLER CLEANING SERVICE
PO BOX 660345                          CO
DALLAS, TX 75266                       2450 FONDREN 113
                                       HOUSTON, TX 77063
